Case 2:12-cv-02943-MMM-SS Document 17 Filed 05/25/12

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Attorney or Party without Attorney:
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For Court Use Only

 

Ref. No. or File No.:

 

Attorney for: Plaintiff

 

Insert name of Court, and Judicial District and Branch Court:
United States District Court, Central District Of California

 

Plaintiff SHAHROKH MIRESKANDARI
Defendant: DAILY MAIL AND GENERAL TRUST PLC, ET AL.

 

 

 

 

 

SUMMONS

PROOF OF SERVICE Hearing Date: Time: Dept/Div: Case Number:

 

 

2:12-CV-02943-MMM-FFM

 

1. At the time of service I was at least 18 years of age and not a party to this action.

2. I served copies of the SUMMONS; FIRST AMENDED COMPLAINT.

3. a. Party served: ASSOCIATED NEWSPAPER LTD.
b, Person served: HOWARD MURRAY, AUTHORIZED TO ACCEPT SERVICE, SERVED
UNDER F.R.C.P. RULE 4
4, Address where the party was served: 865 S. FIGUEROA ST.
SUITE 2400

LOS ANGELES, CA 90017
5. I served the party:

a. by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to receive service of

process for the party (1) on: Thu., May. 24, 2012 (2) at: 3:15PM

7. Person Who Served Papers:

Recoverable Cost Per CCP 1033.5(a)(4)(B)

a. DOUG FORREST d. The Fee for Service was:
1511 West Beverly Blvd. e. Lam: (3) registered California process server
Los Angeles, CA 90026 (i) Independent Contractor
phone Ot 3 Oy 7 (ii) Registration No.: 5141
ax - ve }
www.firstlegalnetwork.com (ii) County. Los Angeles

 

8 I declare under penalty of perjury under the laws of the State of California and under the laws of the

America that the forsgoing is true and correct.
Date: Fri, May. 25, 2012

Judicial Council Fo PROOF OF SERVICE
Rule 2.180-(ay&(b) Rey January 1, 2007 SUMMONS

  
 

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(DOUG HORRESD} 40 domsh,452250

 

 
